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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA


ALLEN POPELKA,                            )
                                          )
                     Petitioner,          )
v.                                        )      No. 1:05-CV-912-SEB-VSS
                                          )
TOM HANLON, Superintendent,               )
                                          )
                     Respondent.          )



                                     JUDGMENT

        The court, having this day made its Entry,

        IT IS THEREFORE ADJUDGED that the petitioner take nothing by his petition for a
writ of habeas corpus and this action is dismissed with prejudice.




        11/10/2005
Date:
                                                     _______________________________
                                                     SARAH EVANS BARKER, JUDGE
                                                     United States District Court
                                                     Southern District of Indiana



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